                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


 Terpsehore Maras,


      Plaintiff,                                           Civil Action No. : _____________

 v.                                                        JURY DEMAND

 US DOMINION, INC., DOMINION
 VOTING SYSTEMS, INC., and
 DOMINION VOTING SYSTEMS
 CORPORATION,

      Defendants,


                                       VERIFIED COMPLAINT


         COMES NOW Plaintiff Terpsehore Maras, by and through undersigned counsel and pursuant

to 28 U.S.C. § 1332, hereby files this Verified Complaint for defamation and would show unto this

Honorable Court the following:

                                             I.     PARTIES

         1.        Plaintiff Terpsehore Maras (hereinafter “Plaintiff”) is a resident of the State of Ohio

and she currently resides in Cleveland, Ohio.

         2.        Defendant US Dominion, Inc. is a resident of Colorado with a principal place of

business located at 1201 18th Street, Suite 210, Denver, Colorado 80202.

         3.        Defendant Dominion Voting Systems, Inc. is a resident of Colorado with a principal

place of business located at 1201 18th Street, Suite 210, Denver, Colorado 80202.

         4.        Defendant Dominion Voting Systems Corporation is a resident of Colorado with a

principal place of business located at 1201 18th Street, Suite 210, Denver, Colorado 80202.



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                              II.     JURISDICTION AND VENUE

        5.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332 as complete

diversity exists and the matter in controversy exceeds $75,000 exclusive of interests and costs.

        6.      The Defendants, US Dominion, Inc., Dominion Voting Systems, Inc. and Dominion,

are subject to the general personal jurisdiction of this Court pursuant to Fed. R. Civ. P. 4(k)(1)(A) and

because of systematic and continuous contacts within the State of Tennessee render it at home here.




Tennessee Secretary of State, Business Entity Detail for Dominion Voting Systems, Inc.,

https://tnbear.tn.gov/Ecommerce/FilingDetail.aspx?CN=2292552400502470381420042441691820

58244126001138 (last accessed August 16, 2021).




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       7.     The Defendants transact business in Williamson County, Tennessee.




       8.     The Defendants are subject to the general personal jurisdiction of this Court pursuant

to Tenn. Code Ann. § 20-2-223.




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       9.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2). Defendants’

defamatory statements were published in this District, Defendants regularly conduct business within

this District by supplying Williamson County, Tennessee with electronic voting machines and

Defendants’ receive revenue from conducting business in this District.

                                 III.    STATEMENT OF FACTS

       10.     On November 29, 2020, Plaintiff Terpsehore Maras swore under oath and penalty of

perjury that the testimony she provided was true and correct to the best of her knowledge.




       11.     On December 2, 2020, Plaintiff’s Affidavit was filed as Exhibit 13 in Sidney Powell’s

election fraud case styled, Tyler Bowyer et al. v. Doug Ducey, in his official capacity as the Governor

of the State of Arizona et al., United States District Court for the District of Arizona, Case No. 2:20-

cv-02321-DJH.




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       12.     Plaintiff is the Declarant/Affiant who signed the Affidavit attached as Exhibit 13.




       13.     Plaintiff’s sworn testimony explained the foundations of her expert opinions and

personal knowledge then addressed the concerns she had regarding foreign interference in our

elections through hardware components from companies based in foreign countries with adverse

interests among other concerns. Complaint, ¶ 80, Bowyer v. Ducey, Case No. 2:20-cv-02321-DJH (D.

Az. 2020) (attached as Exhibit 1).




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          14.    According to the Court’s Order, entered December 9, 2020, the United States District

Court for the District of Arizona stated: “But perhaps more concerning to the Court is that the ‘expert

reports’ reach implausible conclusions often because they are derived from wholly unreliable

sources.” Order, p. 25. Bowyer v. Ducey, Case No. 2:20-cv-02321-DJH (D. Az. 2020) (attached hereto

as Exhibit 2).

          15.    The Court’s Order never stated that Plaintiff’s sources were wholly unreliable.

          16.    The Court’s Order never mentioned Terpsehore Maras’ name.

          17.    The Court’s Order never discussed Plaintiff’s testimony.

          18.    The Court’s Order never stated Plaintiff’s testimony was false.

          19.    On January 8, 2021, Dominion filed suit against Sidney Powell, Sidney Powell, P.C.

and Defending the Republic, Inc. for defamation and deceptive trade practices.

          20.    In suing Sidney Powell for defamation, Dominion defamed Plaintiff.

          21.    Dominion falsely stated that “The ‘wholly unreliable sources’ put forward by Powell

and Wood in that case (whose declarations were posted on Powell’s fundraising website) included

Terpsichore [sic] Maras-Lindeman [sic], Russell Ramsland, William, Briggs, and Josh Merritt a.k.a.

‘Spyder.’” Complaint, ¶ 82, Bowyer v. Ducey, Case No. 2:20-cv-02321-DJH (D. Az. 2020).

          22.    Every single Paragraph in Terpsehore Maras’ Affidavit is sworn testimony given

under oath and penalty of perjury. Affidavit of Terpsehore Maras (attached as Exhibit 3)

          23.    Defendants using plaintiff’s affidavit as evidence for defamation.

          24.    The Defendants libeled and defamed Plaintiff in a defamation suit against Sidney

Powell.

          25.    Defendants have not disproved any allegation in Plaintiff’s Affidavit.

          26.    Defendants have not disproved any Paragraph in Plaintiff’s Affidavit.




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        27.     Defendants cannot disprove any Paragraph in Plaintiff’s Affidavit

        28.     The Defendants have libeled Plaintiff in Plaintiffs’ Complaint, In the United States

District Court for the District of Columbia, Case No. 1:21-cv-00040, filed January 8, 2021. (attached

hereto as Exhibit 4).

        29.     Therefore, the Defendants are declaring that the Plaintiff is guilty of the crime of

perjury by portraying it as false information.

        30.     Dominion had no applicable privilege or legal authorization to make these false and

defamatory and libelous statements about the Plaintiff.

        31.     Dominion published the above-referenced statements with actual malice, knowing or

recklessly disregarding that they are false.

        32.     Plaintiff is entitled to punitive damages pursuant to Tenn. Code Ann. § 29-39-104, as

there is clear and convincing evidence and sworn testimony that Defendants have not proven false.

        33.     Plaintiff contends that the punitive damages cap is unconstitutional pursuant to The

Constitution of the State of Tennessee, Art. I, Sections 6 and 17.

        34.     Dominion’s statements are defamatory per se.

        35.     Dominion’s false statements have exposed Plaintiff to the most extreme hatred and

contempt and has harmed Plaintiff’s professional reputation and her credibility.

        36.     There are no accusations that could do more damage to Plaintiff’s integrity, ethics and

honesty.

        WHEREFORE, as a result of the foregoing, Plaintiff would respectfully request that proper

process be issued and served on Defendants, requiring them to Answer under oath with a Verified

Answer in the time period allotted by law, and that this Honorable Court would award Judgment in

Plaintiff’s favor against the Defendants as follows:




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   1. awarding Plaintiff compensatory damages of not less than $1,700,000,000;

   2. awarding Plaintiff punitive damages of not less than $1,700,000,000;

   3. awarding Plaintiff all expenses and costs, including attorneys’ fees;

   4. awarding Plaintiff pre- and post-judgment interest;

   5. granting a narrowly tailored permanent injunction requiring the removal of all the

       Defendants’ statements that are determined to be false and defamatory and enjoining

       the Defendants from repeating such statements in the future;

   6. such other relief as the Court deems appropriate; and

   7. Plaintiff’s further demand a jury of twelve persons to try all issues joined herein.



Respectfully submitted this 16th day of August, 2021.

                                              THE NEWMAN LAW FIRM



                                      By:     /s/Russell A. Newman                  _
                                              Russell A. Newman, BPR # 033462
                                              6688 Nolensville Road
                                              Suite 108-22
                                              Brentwood, TN 37027
                                              (615) 554-1510 (Telephone)
                                              (615) 283-3529 (Facsimile)
                                              E-mail:russell@thenewmanlawfirm.com
                                              Attorney for Plaintiff Terpsehore Maras




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